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                        IN THE UNITED STATES DISTRICT COURT FOR THE
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                               EASTERN DISTRICT OF CALIFORNIA
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 9
10       UNITED STATES OF AMERICA,                   1:05-cr-0112-AWI-2

11                         Plaintiff,                ORDER GRANTING DEFENDANT’S
                   v.                                UNOPPOSED REQUEST FOR STAY
12
         MANUEL CAMACHO ALVAREZ,
13
                                                     (Doc. #131)
14                     Defendant.
     __________________________________/
15
16          Defendant Manuel Camacho Alvarez (“Defendant”) seeks reduction his of sentence
17 pursuant to 18 U.S.C. § 3582(c)(2) based on Amendment 782 to the Sentencing Guidelines
18 which revises the Drug Quantity Table in USSG § 2D1.1 and reduces by two levels the offense
19 level applicable to many drug trafficking offenses. Upon initial sentencing, the sentencing court
20 downwardly varied from the guideline range based on the nature and circumstances of the
21 offense, to promote respect for the law, and to avoid sentencing disparities. Defendant now seeks
22 the benefit of Amendment 782 on top of the variance initially provided by the sentencing court,
23 i.e. Defendant would have the Court consider the variance to be part of the sentencing court’s
24 guideline range calculation. This issue is on all fours with United States v. Shino, No. 03-cr-
25 5453-LJO, Doc. 474, appeal filed No. 15-10208, where the district court denied a prisoner’s
26 largely identical request. That case is now on appeal before the Ninth Circuit. Id. The Ninth
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 1 Circuit’s resolution of that case will likely be completely determinative to the outcome of this
 2 matter.
 3           The Court has an inherent power to stay proceedings in pursuit of the orderly resolution
 4 of every case. See Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). A stay is an exercise of
 5 judicial discretion in light of the “circumstances of the particular case.” Nken v. Holder, 556 U.S.
 6 418, 433 (2009) (citation omitted). In the interest of judicial economy and at the unopposed
 7 request of the Defendant, this Court will grant Defendant’s request for stay pending the Ninth
 8 Circuit’s decision in Shino.
 9           Defendant is ordered to file a status report with this Court within fourteen days of the
10 Ninth Circuit’s decision in Shino.
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     IT IS SO ORDERED.
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13 Dated: June 26, 2015
                                                  SENIOR DISTRICT JUDGE
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